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                                                          Exhibit A to the Complaint
Location: Somerville, NJ                                                                             IP Address: 71.104.34.33
Total Works Infringed: 29                                                                            ISP: Verizon Fios
 Work      Hashes                                                                 UTC        Site           Published     Registered   Registration
 1         Info Hash:                                                             11-12-     Vixen          11-05-2021    11-11-2021   PA0002321282
           315439578DBF1165A0A1701A0EEE500C1CA1BB14                               2021
           File Hash:                                                             03:39:29
           0BE3C9F1C036AE37A82FDB378925ABD6BFA517D4468C0B68964404553ED76343
 2         Info Hash:                                                             10-31-     Blacked        10-30-2021    11-11-2021   PA0002321300
           770DCB065A0196B2E499949440450A1E42E83629                               2021
           File Hash:                                                             22:04:34
           C453B0FEC7FED757E0867594876655038C7F75E5666B23F8452EC668D0F87D04
 3         Info Hash:                                                             09-15-     Blacked        09-13-2021    10-05-2021   PA0002315289
           74CBBECB65F29E12AD4C298A7847D411F3328408                               2021
           File Hash:                                                             07:03:52
           51C06A72BC81839AFE52CF59D3EA29D620F3C5F703145F8900B39B3043EB60CE
 4         Info Hash:                                                             09-15-     Vixen          09-13-2021    09-30-2021   PA0002319739
           CF168894F7F445F38B0B71F9B642165BE4644DFA                               2021
           File Hash:                                                             03:12:38
           DE463AC0FCB8087227ABC9E4AC4B6867B826319FF5F817EAC4ECF2B2FF5834D5
 5         Info Hash:                                                             09-15-     Vixen          09-13-2021    10-05-2021   PA0002315286
           1B4B544AFA1483402E865B3E9DF0529ADC9F6B7B                               2021
           File Hash:                                                             03:12:30
           442C67665A703B7BECAB599735FA341ACA1933394A163D644B87E19EE5DE162D
 6         Info Hash:                                                             09-15-     Tushy          09-13-2021    10-05-2021   PA0002315290
           49C1B173E18286C74CA83603EE67541861AC53AC                               2021
           File Hash:                                                             03:11:35
           D63D7FC2F1C3FDCD303F6DC6A81308178C09B6AE9023E2C97A4943AD6F3D69F8
 7         Info Hash:                                                             09-08-     Blacked        09-04-2021    09-21-2021   PA0002312679
           5143001E64B720F5AC774760031A3DF4EA4BAA9B                               2021
           File Hash:                                                             15:19:34
           1796D94D891EAAF1225A4D224E12787274F5269207BA303C24E84A1546ECCD15
 8         Info Hash:                                                             09-08-     Blacked        09-06-2021    09-21-2021   PA0002312674
           C227895A35ADAF08CE8A8ABD9EC70F2F048E0BA0                               2021       Raw
           File Hash:                                                             08:33:39
           F69F1459C7FD305378766E843698621C0DACF5D55787DF9EEF9CDACB131647E4
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Work   Hashes                                                             UTC        Site      Published    Registered   Registration
9      Info Hash:                                                         06-22-     Blacked   05-31-2021   06-15-2021   PA0002296925
       3D596AFFD7052A50EBACCCF34074AE149FEBB0C2                           2021       Raw
       File Hash:                                                         01:01:40
       0326D1D9C7DB690DE9C12831581B36DD5B4347EF393B08A270AFB6138824E0EA
10     Info Hash:                                                         06-04-     Blacked   05-15-2021   06-09-2021   PA0002295594
       890F9110E4965F86A3B79D3B93024D3743EC24E8                           2021
       File Hash:                                                         01:06:48
       DD0DFBDFA53637D837CE79705107E47F5E01E3ED8E855C84B3FAB3C015C66A58
11     Info Hash:                                                         05-30-     Blacked   05-17-2021   06-03-2021   PA0002299687
       82081328BAE0753CF6E9D1ACCC15E1337F74C084                           2021       Raw
       File Hash:                                                         05:50:57
       C3652F73BD16160358E5AAF919BD5DC3B56BA9E0FE2CB8AE877F4BAB6B9FBFFC
12     Info Hash:                                                         05-24-     Blacked   05-22-2021   06-09-2021   PA0002295591
       6438F0772021E1CC3B424B5473C7B33E721935AC                           2021
       File Hash:                                                         01:18:05
       F24E310E89882D63EB8372AE12F5BD9D5DDB72E3A8DF9A367C7990100B96F466
13     Info Hash:                                                         05-18-     Blacked   05-01-2021   06-09-2021   PA0002295604
       418313B7CC0E45E7364425BBCE0ED2C177B7F95E                           2021
       File Hash:                                                         21:42:52
       33E1D840721B5A39C483C67FB09BC4DA01AED0C78101DDA40F49287706E4E76B
14     Info Hash:                                                         05-12-     Vixen     04-23-2021   04-27-2021   PA0002288949
       34331078EE2AEE0E5801158BCAF7C0FAED78BDB0                           2021
       File Hash:                                                         05:57:49
       26A40582EC5A7DF639F1DFC38449BA3E544ED1F28C8A0068646D196572E3019B
15     Info Hash:                                                         04-25-     Blacked   03-27-2021   04-27-2021   PA0002288945
       FDCC61E339EFD820B4F29F4A4405F460B0A01368                           2021
       File Hash:                                                         09:20:15
       A6E0B94C9614A3B3A7757C71DE16C9C3D961030583F7C8285DAD170A0F0C431B
16     Info Hash:                                                         04-22-     Tushy     03-28-2021   04-27-2021   PA0002288947
       5A5A386D247C55F9F5A5CC9CBEF4E408B996A7FE                           2021
       File Hash:                                                         01:23:26
       07474B7BD6BBA056FCA31DE6898C16B41654697B82865EEC9831927992159987
17     Info Hash:                                                         04-20-     Blacked   03-29-2021   04-14-2021   PA0002286726
       05F182E8C4BA9BD9AFA4E299D1A59A537ABEC083                           2021       Raw
       File Hash:                                                         14:13:04
       5A9629BD9998889373B3711AE73D36AA68B5493EED9C8A9F6343DCED00AFFE51
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Work   Hashes                                                             UTC        Site      Published    Registered   Registration
18     Info Hash:                                                         02-26-     Blacked   12-16-2017   01-24-2018   PA0002101762
       A8B5C7C61C97B38889187F2B5219E0F378374AC4                           2021
       File Hash:                                                         01:20:27
       C086EF57A8C4245D8EC8A9668B1EF784179F1FAC1C7549BF1885056DD6C44E30
19     Info Hash:                                                         02-10-     Blacked   11-21-2018   01-22-2019   PA0002149833
       1C6F4FA9ACB3B4E5B60430B3909F41BB012F6E95                           2021
       File Hash:                                                         19:26:25
       00E0F33B2BFB37B93D6505165778A21F7BF380F3C80712678F32632B9425098C
20     Info Hash:                                                         02-01-     Vixen     03-04-2020   04-17-2020   PA0002246168
       C9C4D8C22A67CCF9BBB860819A6F5A5C78D3CA18                           2021
       File Hash:                                                         05:24:46
       A693238DCB3A6CC461BF4AACD81A4B69CCE146BDACFAE714D2A293BDD4F68124
21     Info Hash:                                                         01-26-     Blacked   11-21-2020   11-30-2020   PA0002266354
       AF95C243E711AF8CF3E6D44A5B2B4313752DB11B                           2021
       File Hash:                                                         02:05:36
       3F443021C100F521908AAF191702CD5627F214F8A57F1D98F190D9D810A32872
22     Info Hash:                                                         01-15-     Blacked   12-18-2017   01-23-2018   PA0002101753
       29206E8494C7112301E1D099FE916C7A7DB053F8                           2021       Raw
       File Hash:                                                         21:54:22
       B02FD5257A4AC59BAC4350CF2F4A30F9B7BC11087B4B35B6F4873C50B656E26C
23     Info Hash:                                                         01-15-     Blacked   06-26-2018   08-07-2018   PA0002131867
       25B21825FDDD326285817D5BFE5C8D177C46F514                           2021       Raw
       File Hash:                                                         03:35:41
       F21F94696B0F2A2652945488B0FBD0909454D758FA49D86F8B18992263EEC560
24     Info Hash:                                                         01-13-     Blacked   08-03-2018   09-01-2018   PA0002119596
       76410192566CD1F9984A94F1230209D829F0A953                           2021
       File Hash:                                                         05:26:52
       6DA623F1C262E476765ABD52677791F37DEE653334B9E008C127DDFE8C34AEB6
25     Info Hash:                                                         12-23-     Blacked   12-20-2018   02-02-2019   PA0002154970
       DC8504659653D361A72EC186D0D2DDC7A3B1560D                           2020
       File Hash:                                                         03:10:12
       6CBEEBFB892329DEAE2B086F497E318CE1F802AD8E6CB8965FE187E8EE6EAED9
26     Info Hash:                                                         12-23-     Blacked   03-21-2019   04-17-2019   PA0002186999
       D06E36526EC148776A8EEF0C7B1B0102DA46B8D2                           2020
       File Hash:                                                         02:48:49
       497CD68348819D282EBBCBCD51156FF25A2E7F560204B4FF1F81261D2EE85172
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Work   Hashes                                                             UTC        Site      Published    Registered   Registration
27     Info Hash:                                                         12-14-     Blacked   10-03-2020   10-22-2020   PA0002261803
       DB9D81E2070116E14A369E302512977A203EB939                           2020
       File Hash:                                                         18:19:40
       66F36417F3E9080FFD22E54D4F0581E028B85DDC7FC604D22F77E4531C927F5E
28     Info Hash:                                                         12-02-     Blacked   11-28-2020   12-28-2020   PA0002269083
       1C966A387E08B145A88C1F73848890F5050CE545                           2020
       File Hash:                                                         18:00:57
       7E4401B1CA6904D1072107E39E59ADD2B051CAAE6A3392EC3B852DD722ABB416
29     Info Hash:                                                         11-26-     Vixen     11-20-2020   11-30-2020   PA0002266357
       3213C1B60853D862D3017D7A7CF45B946166237A                           2020
       File Hash:                                                         00:55:21
       A949F6C46818DC5CE1EA29222AD83B720A868D2E62837F7E476618BB5C635947
